           Case 1:00-cr-05102-OWW Document 234 Filed 05/18/06 Page 1 of 4


PROB12A1                  UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

                     REPORT OF OFFENDER NON-COMPLIANCE


Offender Name:                   CLEADUS SHELTON

Docket Number:                   1:00CR05102-006 REC

Offender Address:                Fresno, California

Judicial Officer:                Honorable Oliver W. Wanger
                                 United States District Judge
                                 Fresno, California

Original Sentence Date:          03/26/2001

Original Offense:                Conspiracy to Distribute Methamphetamine, 21 USC
                                 846 and 841(a)(1)
                                 (CLASS A FELONY)

Original Sentence:               45 months BOP; 60 months TSR; $100 SA; Mandatory
                                 Drug Testing

Special Conditions:              1) Search; 2) Drug/alcohol treatment; 3) Drug testing;
                                 4) No paging/cellular device without USPO permission;
                                 5) Abstain from alcohol; 6) Co-payment; and, 7)
                                 Register as drug offender.

Type of Supervision:             Supervised release

Supervision Commenced:           12/20/2002

Assistant U.S. Attorney:         Dawrence W. Rice Jr.     Telephone: (559) 497-4000

Defense Attorney:                Federal Defender         Telephone: (559) 487-5561

Other Court Action:

01/20/2004:                      Court advised of use of drugs (11/12/03: cocaine;
                                 12/15/03: methamphetamine). Court approved USPO
                                 plan and no further action was ordered.


                                                                                 R ev. 04/2005
                                                                            P R O B 12A 1.M R G
       Case 1:00-cr-05102-OWW Document 234 Filed 05/18/06 Page 2 of 4


RE:    CLEADUS SHELTON
       Docket Number: 1:00CR05102-006 REC
       REPORT OF OFFENDER NON-COMPLIANCE


03/02/2004:                       Form 12C - Petition for Warrant signed by Court
                                  following allegations of: 1) Use of a Controlled
                                  Substance; 2) Failure to Participate in Substance Abuse
                                  Counseling; 3) Failure to Participate in Drug Testing; 4)
                                  Failure to Notify USPO of Address Change

05/24/2004:                       Court dismisses Counts 1 and 3 of the Petition.
                                  Supervised release continued and modified to include
                                  a 180-day placement at Turning Point Community
                                  Corrections Center.

06/22/2004:                       Form 12C - Petition for Warrant filed alleging Failure to
                                  Comply with Turning Point Community Corrections
                                  Center Program Rules and Regulations. Warrant
                                  issued for arrest.

08/23/2004:                       Following finding of a violation, supervised release is
                                  revoked. Sentenced to 9 months BOP, and re-
                                  imposition of supervised release for 40 months.

02/11/2005:                       Supervision re-commenced.

03/23/2006:                       Form 12A.1, Report of Offender Non-Compliance filed
                                  with Court alleging drug use (02/02/06:
                                  Methamphetamine). Court approved supervision plan;
                                  no further action taken.


                            NON-COMPLIANCE SUMMARY

The purpose of this report is to advise the Court of an alleged violation of the terms of
supervision. The Probation Officer has developed a plan to dispose of the alleged
non-compliance with action less than revocation, and the Court is requested to approve the
plan to address the non-compliance.


1.    ILLICIT DRUG USE: 03/30/2006 and 04/27/2006: Amphetamine/Methamphetamine
2.    FAILURE TO DRUG TEST: 02/20/2006, 04/01/2006, 04/03/2006, 04/19/2006
3.    FAILURE TO PARTICIPATE IN DRUG TREATMENT: 04/06/06, 04/13/06, 04/20/06

                                                                                     R ev. 04/2005
                                            2                                   P R O B 12A 1.M R G
        Case 1:00-cr-05102-OWW Document 234 Filed 05/18/06 Page 3 of 4


RE:    CLEADUS SHELTON
       Docket Number: 1:00CR05102-006 REC
       REPORT OF OFFENDER NON-COMPLIANCE


Details of alleged non-compliance: The releasee continues on a downward spiral,
continuing to use illegal drugs and failing to submit to random drug testing or participate
in drug aftercare.


United States Probation Officer Plan/Justification: The releasee requested help for
his substance abuse problem. He admitted himself to a 72-hour detoxification program
at the Comprehensive Addictions Program, Inc. Upon his release he was referred to
Decision Home, a sober living residential program, where he will be required to participate
in the program for “90 to 120 days.” At this self-paid facility, the releasee will be allowed
to continue employment and participate in various rehabilitative opportunities, and will be
required to reside at this facility with exception of approved “leaves” (i.e. employment,
medical, treatment, etc.).

The releasee voluntarily entered the Decision Home program on May 1, 2006, and to date
his performance at the facility has been satisfactory. A modification of his supervision
conditions is not necessary; there is a special condition authorizing drug treatment (in-
patient/out-patient). The releasee will continue submitting to drug testing, and has been
admonished that if drug use or non-compliance continues, he will return to Court to face
revocation proceedings.

It is therefore recommended that no action be taken at that time other than continued
supervision by the probation officer.

                                  Respectfully submitted,

                                   /s/ Hubert J. Alvarez

                                HUBERT J. ALVAREZ
                        Senior United States Probation Officer
                             Telephone: (559) 499-5727




                                                                                       R ev. 04/2005
                                             3                                    P R O B 12A 1.M R G
      Case 1:00-cr-05102-OWW Document 234 Filed 05/18/06 Page 4 of 4


RE:   CLEADUS SHELTON
      Docket Number: 1:00CR05102-006 REC
      REPORT OF OFFENDER NON-COMPLIANCE


DATED:         May 12, 2006
               Fresno, California
               HJA/mb




REVIEWED BY:         /s/ Bruce Vasquez
                     BRUCE A. VASQUEZ
                     Supervising United States Probation Officer



THE COURT ORDERS:

(X)   The Court Approves Probation Officer's Plan, and Orders No Further Action Be
      Taken At This Time.

( )   Submit a Request for Modifying the Conditions or Term of Supervision.

( )   Submit a Request for Warrant or Summons.

( )   Other:

IT IS SO ORDERED.

Dated: May 18, 2006                        /s/ Oliver W. Wanger
emm0d6                                UNITED STATES DISTRICT JUDGE




                                                                                   R ev. 04/2005
                                          4                                   P R O B 12A 1.M R G
